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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)
PRODUCTS LIABILITY LITIGATION                       MDL NO. 2592

 ROGER DALE JONES,                                  SECTION: L
                                                    JUDGE FALLON
                              Plaintiff,            MAG. JUDGE NORTH

 v.

 JANSSEN RESEARCH & DEVELOPMENT
 LLC f/k/a JOHNSON AND JOHNSON
 PHARMACEUTICAL RESEARCH AND                        CIVIL ACTION NO.: 2:17-cv-2460
 DEVELOPMENT LLC, JANSSEN ORTHO
 LLC, JANSSEN PHARMACEUTICALS,
 INC. f/k/a JANSSEN PHARMACEUTICA
 INC. f/k/a ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC., JOHNSON &                      PLAINTIFF’S RESPONSE TO
 JOHNSON COMPANY, BAYER                                SHOW CAUSE REGARDING
 HEALTHCARE PHARMACEUTICALS,                         PLAINTIFFS WHO HAVE FAILED
 INC., BAYER PHARMA AG, BAYER                           TO COMPLY WITH CASE
 CORPORATION, BAYER HEALTHCARE                         MANAGEMENT ORDER 12A
 LLC, BAYER HEALTHCARE AG, and
 BAYER AG,

                              Defendants.



        COMES NOW, Plaintiff, by and through undersigned Counsel, and respectfully submits

this response to the Order to Show Cause filed on September 20, 2019 and the First Supplemental

Order to Show Cause filed on October 2, 2019 and states as follows:

        1.    On September 20, 2019, this Court issued an Order to Show Cause as to why certain

actions, including the above-captioned action, should not be dismissed with prejudice for failing

to comply with the Court’s Case Management Order 12A.
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       2.      Plaintiff’s counsel was notified that Plaintiff was deceased after forwarding the

Settlement Packet to his attention. His surviving spouse and only intestate heir, Doris K. Jones,

executed the Release and Enrollment Form indicating her desire to move forward with Plaintiff’s

Claim as the representative.

       3.      The executed Release was uploaded to MDL Centrality on July 16, 2019. The

executed Enrollment Election form and the required draft Stipulation of Dismissal were uploaded

to MDL Centrality on August 5, 2019, in accordance with the Court’s initial deadline. However,

a Release Addendum was not uploaded.

       4.      After the September 20, 2019 Show Cause Order, Plaintiff’s counsel received a

Notice of Incomplete Enrollment on September 24, 2019, indicating that documents evidencing

the Representative Claimant’s authority to act were missing. A deadline of October 15, 2019 was

given to cure this deficiency. See Exhibit A.

       5.      Plaintiff’s attorney was under the mistaken impression that the deadline of October

15, 2019, was the relevant deadline since it was received after the Show Cause Order. The

representative’s intention to join the settlement was provided to the Court via the previous filings.

Therefore, Plaintiff’s counsel did not prepare Plaintiff’s representative to attend the Show Cause

hearing scheduled for October 7, 2019.

       6.      Plaintiff’s counsel was unaware that the case remained on the show cause order

until liaison counsel forwarded the Court’s Supplemental Order entered on October 2, 2019 at 5:59

p.m. via email on October 3, 2019.

       7.      Plaintiff’s counsel apologizes for the incorrect assumption and assures the Court

that we are diligently working on curing deficiencies and have no outstanding cases that have not

provided an executed Enrollment Form, executed Release and draft Stipulation of Dismissal.
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       8.      Further, Plaintiff’s Representative has now executed the Release Addendum and

Sworn Affidavit. Those documents were uploaded to MDL Centrality simultaneously with this

response, curing the deficiency, and complying with the Court’s Case Management Order 12A.

       9.      Plaintiff’s counsel has no other cases on any of the Show Cause Orders that require

attendance on October 7, 2019.

       WHEREFORE, based on the above, Plaintiff’s representative is now compliant with the

Court’s Case Management Order 12A, and Counsel for Plaintiff respectfully requests that

Plaintiff’s Representative and Plaintiff’s counsel’s attendance at the Show Cause Hearing be

excused and that the Plaintiff’s case not be dismissed. In the alternative, Plaintiff respectfully

requests that Plaintiff’s Representative’s attendance be excused and that the Plaintiff’s case not be

dismissed.

Dated: October 4, 2019                                Respectfully submitted,


                                                      MOTLEY RICE LLC

                                                      By: /s/ Carmen S. Scott
                                                         Carmen S. Scott
                                                         28 Bridgeside Boulevard
                                                         Mt. Pleasant, SC 29464
                                                         Phone: 843-216-9000
                                                         cscott@motleyrice.com

                                                      Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE



         The undersigned hereby certified that on October 4, 2019 the foregoing pleading was filed
electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be
sent to Liaison Counsel for Plaintiffs and Defendants by operation of the Court’s electronic filing
system and served on all other counsel via MDL Centrality, which will send notice of electronic
filing in accordance with the procedures established in MDL 2592 pursuant to Pre-Trial Order No.
17.


                                             /s/ Carmen S. Scott
